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                    EXHIBIT 2
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                LEASE ASSIGNMENT AND ASSUMPTION AGREEMENT
                    (6800 Johnson Drive, Mission, KS Store No. 51010)
                                                             -




                THIS LEASE ASSIGNMENT AND ASSUMPTION AGREEMENT (this
“Agreement”) is made by and among APPLEBEE’S RESTAURANTS KANSAS LLC, a
Kansas limited liability company, APPLEBEE’S RESTAURANTS MID-ATLANTIC LLC, a
Delaware limited liability company, APPLEBEE’S RESTAURANTS NORTH LLC, a
Delaware limited liability company, APPLEBEE’S RESTAURANTS TEXAS LLC, a Texas
limited liability company, and APPLEBEE’S RESTAURANTS WEST LLC, a Delaware
limited liability company (collectively, “Assignor”), and APPLE CENTRAL KC, LLC, a
Kansas limited liability company (“Assignee”) as of this 23rd day of July, 2015, with an
“Effective Date” as set forth below.

                                       WITNESSETH:

               WHEREAS, Assignor is the tenant under those certain lease agreements
described on Schedule I attached hereto and incorporated by reference herein (collectively, as
amended, modified and/or assigned from time to time, the “Lease”) regarding the premises
identified on Schedule I (the “Premises”); and
               WHEREAS, Assignor desires to assign its interest in the Lease to Assignee, and
Assignee desires to accept such assigmnent and to assume and agree to perform and fulfill all of
the terms, obligations and conditions imposed on Assignor by the Lease, subject to the terms
hereof.
             NOW, THEREFORE, in consideration of the mutual promises hereinafter
contained and for other good and valuable consideration, receipt of which is hereby
acknowledged, the parties agree as follows:
                 1.     Assignment and Term. Assignor hereby assigns, transfers and conveys to
Assignee  all of  Assignor’s rights, title, and interest in and to the Lease and the Premis.es as of the
Effective Date (defined below), for the balance of the respective term (including any extensions
and renewals thereof) of the Lease, including but not limited to all rights related to options to
purchase and options to terminate, renew or extend the term.

              2.     Possession and Effective Date. Assignee shall take possession of the
Premises and this Agreement shall be arid become effective as of July 23, 2015 (the “Effective
Date”).

                3.      Assumption; Use of the Premises.          Assignee hereby accepts said
assignment, transfer and conveyance and assumes all obligations of Assignor under the Lease
arising on or after the Effective Date of this Agreement, including but not limited to payment of
all rent and other sums due by Assignor under the Lease and performance of all obligations,
duties and responsibilities of Assignor under the Lease. Assignee hereby covenants and agrees
for the benefit of Assignor and the landlord under the Lease that Assignee will keep, perform and
be bound by all of the terms, covenants and conditions required to be performed by Assignor
under the Lease from and after the Effective Date. Assignee agrees that it will use the Premises
for a “Permitted Use” under the terms of the Lease. Assignor and Assignee acknowledge and

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agree to their respective indemnification obligations set forth in Article VI of that certain Asset
Purchase Agreement between Assignor, Assignee and certain other parties dated April 20, 2015.

                4.     Notices. Assignee covenants and agrees to notify the landlord that the
tenant’s notice address under the lease shall include a duplicate copy to Assignor unless and until
the Assignor has been released from liability under such Lease. All notices to either party shall
be deemed given when sent by hand delivery, certified mail (return receipt requested), or
overnight delivery service, confirmed, to the appropriate party at the addresses set forth below,
or to such other address as may be designated in writing, from time to time, by the party.

                5.    Governing Law. As to the Lease set forth on Schedule I, this Agreement
shall be governed by and construed in accordance with the laws of the State which is the
applicable governing law pursuant to the terms of such Lease, without giving any effect to choice
of law rules thereof.

                6.       Binding on Successors and Assigns. This Agreement shall be binding
upon, and shall inure to the benefit of, the respective successors and assigns of the parties hereto,
subject to all restrictions contained in the Lease with respect to assignment, subletting or other
transfer.

                7.      Entire Agreement: No Amendments. The agreements contained herein
constitute the entire understanding between the parties with respect to the subject matter hereof.
No amendment or modification of this Agreement will be effective unless in writing, executed
by all of the parties hereto.

               8.     Counterparts. This Agreement may be executed in any number of
counterparts, each of which when so executed and delivered shall be deemed to be an original
and all of which counterparts taken together shall constitute but one and the same instrument.




                                 [Signatures on Following Pages]




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                IN WITNESS WHEREOF, the parties have executed this Agreement as of the
date first above written, effective as of the Effective Date.


                                      ASSIGNOR:

Address for Notices to Assignor:     APPLEBEE’S RESTAURANTS KANSAS LLC, a
                                     Kansas limited liability company
450 N. Brand Blvd, 7th
                       Floor
Glendale, California 91203
Tel: (818) 637-3647                  APPLEBEE’S RESTAURANTS MID-ATLANTIC
Fax: (818) 637-5362                  LLC, a Delaware limited liability company
E-mail:
Nedra.AustinDineEquity.com
Attn: Real Estate Counsel            APPLEBEE’S RESTAURANTS NORTH LLC, a
                                     Delaware limited liability company


                                     APPLEBEE’S RESTAURANTS TEXAS LLC, a
                                     Texas limited liability company


                                     APPLEBEE’S RESTAURANTS WEST LLC, a
                                     Delaware limited liability company

                                     By: Applebee’s Services, Inc., their authorized agent



                                     By:_________
                                     Name :.$tren.R. ayt
                                     Title: President




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Address for Notices to Assignee:    ASSIGNEE:

9 Greenwich Office Park, 2
                         nd
                            Floor   APPLE CENTRAL KC, LLC
Greenwich, CT 06831
Tel:   (203) 992-1717               By: American Franchise Capital III, LLC,
Fax: (203)661-9462                      its Sole Member
Email: bgeorgasafcbrands.com
       tganshawafcbrands.com
Attn: Mr. William J. Georgas and
           Mr.   Trevor   Ganshaw   By:




                                    Name: William J. (eorgas
                                    Title: Manager



                                    By:
                                    Name: Trevor Ganshaw
                                    Title: Manager




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                                        SCHEDULE I

                                     Lease and Premises



Lease:

1.       Land and Building Lease dated April 1, 2010 between Abees, LLC, a Kansas limited
liability company as Landlord and Applebee’s Restaurants Kansas LLC, a Kansas limited
liability company, Applebee’s Restaurants Mid-Atlantic LLC, a Delaware limited liability
company, Applebee’s Restaurants North LLC, a Delaware limited liability company, Applebee’s
Restaurants Texas LLC, a Texas limited liability company, and Applebee’s Restaurants West
LLC, a Delaware limited liability company, collectively as Tenant.

2.       Guaranty dated April 1, 2010 by and between Applebee’ s Enterprises, LLC, a Delaware
limited liability company, Applebee’s Franchising, LLC, a Delaware limited liability company,
Applebee’s IP LLC, a Delaware limited liability company and Applebee’s Holdings, LLC, a
Delaware limited liability company, collectively as Guarantor and Abees, LLC, a Kansas limited
liability company as Landlord.

3.       Memorandum of Lease dated April 1, 2010 by and between Abees, LLC, a Kansas
limited liability company as Landlord and Applebee’s Restaurants Kansas LLC, a Kansas limited
liability company, Applebee’s Restaurants Mid-Atlantic LLC, a Delaware limited liability
company, Applebee’s Restaurants North LLC, a Delaware limited liability company, Applebee’s
Restaurants Texas LLC, a Texas limited liability company, and Applebee’s Restaurants West
LLC, a Delaware limited liability company, collectively as Tenant recorded with the Johnson
County, Kansas Register of Deeds on April 27, 2010 in Book 201004, Page 007135.


Premises:     6800 Johnson Drive
              Mission, KS
              Store No. 51010


Legal Description:    See Schedule II attached hereto




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                                       SCHEDULE II

                                      Legal Description



TRACT 1:

The leasehold estate created by that certain Lease Agreement, by and between Abees, LLC, a
Kansas limited liability company, as Landlord and Applebee’s Restaurants Kansas LLC, a
Kansas limited liability company, Applebee’s Restaurants Mid-Atlantic LLC, a Delaware limited
liability company, Applebee’s Restaurants North LLC, a Delaware limited liability company,
Applebee’s Restaurants Texas LLC, a Texas limited liability company and Applebee’s
Restaurants West LLC, a Delaware limited liability company, as Tenant, notice of which is given
by instrument filed April 27, 2010 in Book 201004, Page 007135, demising and leasing the
property for a term as set forth in said Lease Agreement, the following described premises, to-
wit:

Lot 4, Broadmoor Square, a Subdivision in the City of Mission, Johnson County, Kansas.


TRACT 2:

Cross Easement for ingress, egress and parking over and across Lots 1, 2, 3 and 4 of Broadmoor
Square, filed Book 5254 at Page 734.


TRACT3:

Non-exclusive easement as provided in Parking Easement Agreement filed in Volume 5291,
Page 665.




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